                      Case 2:05-cr-00161-KJM Document 52 Filed 03/26/08 Page 1 of 1
OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                  EASTERN District of CALIFORNIA

                    United States of America                      )
                               v.                                 )
                                                                  )   Case No: 2:05-CR-00161-001 FCD
                 AARON TERRELL WARREN
                                                                  )   USM No: 15699-097
Date of Previous Judgment: 10/11/2005                             )   David M. Porter, AFD
(Use Date of Last Amended Judgment if Applicable)                 )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of X the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       ’ DENIED. X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 87         months is reduced to 70                         .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    29               Amended Offense Level:                                          27
Criminal History Category: I                Criminal History Category:                                      I
Previous Guideline Range: 87  to 108 months Amended Guideline Range:                                        70        to   87   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
’ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
’ Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated 10/11/2005                shall remain in effect.
IT IS SO ORDERED.

Order Date:         03/26/2008
                                                                                               Judge’s signature


Effective Date: 03/26/2008                                                        Hon. Frank C. Damrell Jr., Judge
                     (if different from order date)                                          Printed name and title
